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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,

                                                               Case Number 06-20364-BC
v.                                                             Honorable Thomas L. Ludington

GERALD WALKER,

                  Defendant.
______________________________________ /

ORDER DENYING DEFENDANT’S MOTION FOR CREDITATION FOR TIME SPENT
                        IN COUNTY JAIL

       On August 27, 2007, Defendant Gerald Walker entered a guilty plea to conspiracy to

distribute or possess with the intent to distribute fifty grams or more of cocaine base in violation of

21 U.S.C. § 846. Dkt. # 140. On November 28, 2007, the Court sentenced Defendant to be

incarcerated for 120 months. At that time, Defendant was in custody for a violations of the terms

of his supervised release in an unrelated criminal matter. See case number 03-50044. Defendant

was detained in February of 2006 for the violation of supervised release and was sentenced to a term

of twenty-four months incarceration in March of 2006. Defendant contends that in August of 2006

he was transferred into the custody of the United States Marshal Service for the “sole[]” purpose of

his prosecution in the instant criminal matter. Defendant’s instant motion requests the Court to

reduce his 120 month sentence by the sixteen month period of incarceration between his arraignment

and his guilty plea.

       Although Defendant does not advance legal authority, his motion challenges the calculation

of his sentence. 18 U.S.C. § 3585(b) provides as follows:
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       Credit for prior custody. – A defendant shall be given credit toward the service of
       a term of imprisonment for any time he has spent in official detention prior to the
       date the sentence commences –

        (1) as a result of the offense for which the sentence was imposed; or

       (2) as a result of any other charge for which the defendant was arrested after the
       commission of the offense for which the sentence was imposed;

       that has not been credited against another sentence.

A district court, however, lacks jurisdiction over a post-conviction motion requesting sentence credit

for other time served. United States v. Westmoreland, 974 F.2d 736, 737 (6th Cir. 1992). The

Attorney General, through the Bureau of Prisons (“BOP”), has jurisdiction to calculate a sentence.

Id. A defendant must first challenge the BOP’s calculation and exhaust available administrative

remedies. Id. Jurisdiction vests in a district court to review the BOP’s calculation after a defendant

has exhausted his administrative remedies.

       Here, Defendant’s motion does not indicate that he has exhausted available administrative

remedies to challenge the calculation of his sentence. Thus, this Court lacks jurisdiction to grant

Defendant the relief that he seeks. He must first exhaust available administrative remedies.

       Accordingly, it is ORDERED that Defendant’s motion “for creditation for time spent in

county jail” is [Dkt. # 199] is DENIED WITHOUT PREJUDICE.

                                               s/Thomas L. Ludington
                                               THOMAS L. LUDINGTON
                                               United States District Judge

Dated: September 10, 2008




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                                           PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                   upon each attorney or party of record herein by electronic means or first
                   class U.S. mail on September 10, 2008.

                                                     s/Tracy A. Jacobs
                                                     TRACY A. JACOBS




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